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 1         For this Complaint, the Plaintiff, Adela Fregoso, by undersigned counsel, states
 2
     as follows:
 3
 4                                       JURISDICTION

 5         1.      This action arises out of Defendants’ repeated violations of the Fair Debt
 6
     Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of
 7
     Plaintiff’s personal privacy by the Defendants and its agents in their illegal efforts to
 8
 9 collect a consumer debt.
10
           2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.
11
           3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
12
13 Defendants transact business here and a substantial portion of the acts giving rise to
14
     this action occurred here.
15
16                                           PARTIES
17
           4.      The Plaintiff, Adela Fregoso (hereafter “Plaintiff”), is an adult individual
18
19 residing at 10600 San Luis Avenue South Gate, CA 90280, and is a “consumer” as
20 the term is defined by 15 U.S.C. § 1692a(3).
21
           5.      Defendant Medicredit, Inc. (“Medicredit”), is a business entity with an
22
23 address of 3 City Place Dr., Suite 690, St. Louis, MO 63141, registered with the
24 California Secretary of State, and operating as a collection agency, and is a “debt
25
     collector” as the term is defined by 15 U.S.C. § 1692a(6).
26
27
28
                                                2                 COMPLAINT FOR DAMAGES
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 1         6.       Does 1-10 (the “Collectors”) are individual collectors employed by and
 2
     whose identities are currently unknown to the Plaintiff. One or more of the Collectors
 3
 4 may be joined as parties once their identities are disclosed through discovery.
 5         7.       at all times acted by and through one or more of the Collectors.
 6
 7                       ALLEGATIONS APPLICABLE TO ALL COUNTS
 8 A.      The Debt
 9
10         8.       The Plaintiff incurred a financial obligation (the “Debt”) to a creditor (the
11
     “Creditor”).
12
           9.       The Debt arose from services provided by the Creditor which were
13
14 primarily for family, personal or household purposes and which meets the definition
15
     of a “debt” under 15 U.S.C. § 1692a(5).
16
17         10.      The Debt was purchased, assigned or transferred to for collection, or

18 was employed by the Creditor to collect the Debt.
19
           11.      The Defendants attempted to collect the Debt and, as such, engaged in
20
21 “communications” as defined in 15 U.S.C. § 1692a(2).
22
     B.    Engages in Harassment and Abusive Tactics
23
24
           12.      Defendants contacted plaintiff to collect the debt.
25
26         13.      Defendant charging more than plaintiff owes.

27         14.      Defendant told plaintiff "If you don't pay, the debt is going to go up."
28
                                                 3                 COMPLAINT FOR DAMAGES
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 1 C.      Plaintiff Suffered Actual Damages
 2
 3         15.    The Plaintiff has suffered and continues to suffer actual damages as a
 4
     result of the Defendants’ unlawful conduct.
 5
           16.    As a direct consequence of the Defendants’ acts, practices and conduct,
 6
 7 the Plaintiff suffered and continues to suffer from humiliation, anger, anxiety,
 8
     emotional distress, fear, frustration and embarrassment.
 9
           17.    The Defendants’ conduct was so outrageous in character, and so extreme
10
11 in degree, as to go beyond all possible bounds of decency, and to be regarded as
12
     atrocious, and utterly intolerable in a civilized community.
13
14                                COUNT I
15       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           15 U.S.C. § 1692, et seq.
16
17         18.    The Plaintiff incorporates by reference all of the above paragraphs of this

18 Complaint as though fully stated herein.
19
           19.    The Defendants misrepresented the character, amount and legal status of
20
21 the debt, in violation of 15 U.S.C. § 1692e(2).
22         20.    The Defendants employed false and deceptive means to collect a debt, in
23
     violation of 15 U.S.C. § 1692e(10).
24
25         21.    The Defendants attempted to collect an amount not authorized by the

26 agreement creating the debt, in violation of 15 U.S.C. § 1692f(1).
27
28
                                               4                COMPLAINT FOR DAMAGES
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 1         22.     The Defendants failed to send the Plaintiff a validation notice stating the
 2
     amount of the debt, in violation of 15 U.S.C. § 1692g(a)(1).
 3
 4         23.     The Defendants failed to send the Plaintiff a validation notice stating the

 5 name of the original creditor to whom the debt was owed, in violation of 15 U.S.C. §
 6
   1692g(a)(2).
 7
 8      24. The Defendants failed to send the Plaintiff a validation notice stating the
 9 Plaintiff’s right to dispute the debt within thirty days, in violation of 15 U.S.C. §
10
   1692g(a)(3).
11
12        25. The Defendants failed to send the Plaintiff a validation notice informing
13 the Plaintiff of a right to have verification and judgment mailed to the Plaintiff, in
14
   violation of 15 U.S.C. § 1692g(a)(4).
15
16         26.     The Defendants failed to send the Plaintiff a validation notice containing
17 the name and address of the original creditor, in violation of 15 U.S.C. § 1692g(a)(5).
18
         27. The Defendants continued collection efforts even though the debt had not
19
20 been validated, in violation of 15 U.S.C. § 1692g(b).
21         28.     The foregoing acts and omissions of the Defendants constitute numerous
22
     and multiple violations of the FDCPA, including every one of the above-cited
23
24 provisions.
25         29.     The Plaintiff is entitled to damages as a result of the Defendants’
26
     violations.
27
28
                                                5                COMPLAINT FOR DAMAGES
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 1                              COUNT II
 2          VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION
                  PRACTICES ACT, Cal. Civ. Code § 1788 et seq.
 3
           30.    The Plaintiff incorporates by reference all of the above paragraphs of this
 4
 5 Complaint as though fully stated herein.
 6
           31.    The Rosenthal Fair Debt Collection Practices Act, California Civil Code
 7
     section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
 8
 9 practices in the collection of consumer debts.
10
           32.    Medicredit, in the regular course of business, engages in debt collection
11
     and is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
12
13         33.    The Defendants failed to comply with the provisions of 15 U.S.C. §
14
     1692, et seq., in violation of Cal. Civ. Code § 1788.13(e).
15
16         34.    The Defendants falsely represented that the Plaintiff’s debt would be

17 increased by the addition of attorney’s fees, investigation fees, service fees, finance
18
     charges or other charges, when the charges could not be legally added to the debt, in
19
20 violation of Cal. Civ. Code § 1788.13(e).
21         35.    The Defendants attempted to collect from the Plaintiff the debt
22
     collector’s fees and charges for service, in violation of Cal. Civ. Code § 1788.13(b).
23
24         36.    The Defendants did not comply with the provisions of Title 15, Section

25 1692 of the United States Code, in violation of Cal. Civ. Code § 1788.17.
26
27
28
                                               6                   COMPLAINT FOR DAMAGES
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 1         37.     The Plaintiff is entitled to damages as a result of the Defendants’
 2
     violations.
 3
 4
                                      PRAYER FOR RELIEF
 5
           WHEREFORE, the Plaintiff prays that judgment be entered against the
 6
 7 Defendants:
 8
                   A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the
 9
10                    Defendants;
11
                   B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)
12
                      against the Defendants;
13
14                 C. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.
15
                      § 1692k(a)(3) against the Defendants;
16
17                 D. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);

18                 E. Statutory damages of $1,000.00 per violation for knowingly and
19
                      willfully committing violations pursuant to Cal. Civ. Code
20
21                    § 1788.30(b);

22                 F. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);
23
                   G. Actual damages from the Defendants for the all damages including
24
25                    emotional distress suffered as a result of the intentional, reckless, and/or

26                    negligent FDCPA violations and intentional, reckless, and/or negligent
27
28
                                                 7                 COMPLAINT FOR DAMAGES
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 1                invasions of privacy in an amount to be determined at trial for the
 2
                  Plaintiff;
 3
 4             H. Punitive damages; and

 5             I. Such other and further relief as may be just and proper.
 6
 7                TRIAL BY JURY DEMANDED ON ALL COUNTS
 8
 9             DATED: June 22, 2010 LARA SHAPIRO
10
11
12                                              By: /s/ Lara R. Shapiro
                                                Lara R. Shapiro
13
14                                              Attorney for Plaintiff
                                                Adela Fregoso
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                                            8                   COMPLAINT FOR DAMAGES
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